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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF NEW YORK

       - - - - - - - - - - - - - - -X
        UNITED STATES OF AMERICA,   : 21-CR-371(BMC)(SJB)
                                    :
                                    :
                                    :
                                    : United States Courthouse
             -against-              : Brooklyn, New York
                                    :
                                    :
                                    :
        THOMAS BARRACK and          : Monday, July 26, 2021
        MATTHEW GRIMES,             : 12:00 p.m.
                                    :
                 Defendants.        :
                                    :
       - - - - - - - - - - - - - - -X

                 TRANSCRIPT OF CRIMINAL CAUSE FOR ARRAIGNMENT
                    BEFORE THE HONORABLE SANKET J. BULSARA
                        UNITED STATES MAGISTRATE JUDGE

                                  A P P E A R A N C E S:

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                                      MATTHEW J. HERRINGTON, ESQ.




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                                 Official Court Reporter
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                                                                                 2



                      A P P E A R A N C E S: (Continued.)


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       Proceedings recorded by computerized stenography.            Transcript
       produced by Computer-aided Transcription.




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   1               (In open court.)

   2               (Defendants present in open court.)

   3               THE COURT:    Good afternoon, please be seated.

   4               COURTROOM DEPUTY:     This is criminal cause for

   5   arraignment, case No. 21-CR-371.        United States v. Thomas

   6   Barrack and Matthew Grimes.

   7               Counsel, please state your appearances for the

   8   record starting with government counsel.

   9               MR. REILLY:    Good morning, your Honor.         Nathan

  10   Reilly, Ryan Harris, Sam Nitze, and Hiral Mehta for the

  11   Government.    Also with us at counsel table, your Honor, is

  12   Pretrial Services Officer Bianca Carter.

  13               THE COURT:    Good morning.

  14               MS. GUBERMAN:    Phara Guberman of Paul Hastings.

  15   With me is my colleague Matthew Herrington whose motion pro

  16   hac vice will be pending momentarily.

  17               THE COURT:    Good morning.    Good morning,

  18   Mr. Barrack.

  19               MR. BARRACK:    Good morning, your Honor it's Barrack.

  20               THE COURT:    Barrack.

  21               MR. SCHWARTZ:    Good afternoon, your Honor.        Matthew

  22   Schwartz and Erica Sweeting for the defendant Matthew Grimes

  23   who is present to my left.       And I can't see it, but my

  24   colleague, Jake Becerra is present on the phone as well.

  25               THE COURT:    Good afternoon, Mr. Grimes.


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   1               A couple of preliminaries as we get started.           So,

   2   Ms. Guberman, you're admitted in this district?

   3               MS. GUBERMAN:    Yes, your Honor.      I have a notice of

   4   appearance.

   5               THE COURT:    Great.

   6               Mr. Manson, would you grab the notice of appearance.

   7               You're seeking to have -- your colleague is seeking

   8   pro hac vice admission?

   9               MS. GUBERMAN:    Yes, the certificates of good

  10   standing are on their way.

  11               THE COURT:    Okay.    So I will admit Mr. Herrington

  12   pro hac for purposes of today and once the certificates of

  13   good standing come in, the motion can be filed with the

  14   Clerk's Office with the appropriate filing fee on the docket.

  15               MS. GUBERMAN:    Thank you, your Honor.

  16               MR. HERRINGTON:     Thank you, your Honor.

  17               THE COURT:    Mr. Schwartz and Ms. Sweeting, are you

  18   both admitted in the District?

  19               MS. SWEETING:    We are, your Honor.

  20               MR. SCHWARTZ:    We are, your Honor.

  21               THE COURT:    Okay.    Mr. Barrack, Mr. Grimes, I'm

  22   going to address each of you.       You can remain seated.       All

  23   that's important is that you speak loudly, okay?             And we'll

  24   just so it's -- so I don't repeat the same questions twice, I

  25   will just simply ask the question once.         Mr. Barrack, you will


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   1   answer first.    Then, Mr. Grimes, you'll answer next, okay?

   2                MR. BARRACK:   Yes, your Honor.

   3                MR. MATTHEW GRIMES:    Yes, your Honor.

   4                THE COURT:   Counsel can speak whenever they would

   5   deem it appropriate.

   6                I'll begin with the same question I ask every

   7   defendant who appears in our court for the first time.

   8                Either of you have any trouble speaking or

   9   understanding English.

  10                MR. BARRACK:   No, your Honor.

  11                MR. MATTHEW GRIMES:    No, your Honor.

  12                THE COURT:   Okay.   As a defendant in a criminal

  13   case, you have certain rights, okay?         I'm going to explain to

  14   you what those rights are.

  15                Your first right is your constitutional right to

  16   remain silent.     What that means is you don't have to make a

  17   statement at any time.      You don't have to make a statement to

  18   any law enforcement official.       If you've made a statement in

  19   the past, you are under no obligation whatsoever to make a

  20   statement in the future.      If, however, you do make a

  21   statement, that statement can be used against you including in

  22   the prosecution of crimes like perjury or making a false

  23   statement.

  24                Do you understand your right to remain silent?

  25                MR. BARRACK:   Yes, your Honor.


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   1               MR. MATTHEW GRIMES:     Yes, your Honor.

   2               THE COURT:    Okay.   You also have a right to counsel.

   3   You have the right to have an attorney represent you from the

   4   time of your arrest to any trial and any appeal.

   5               If you couldn't afford counsel, the Court would

   6   appoint counsel to represent you.        You would have the right to

   7   have counsel represent you in court and out of court, and in

   8   the presence of law enforcement officials.

   9               In addition, you have the right to represent

  10   yourselves if that's what you wish to do.

  11               Do you understand your right to counsel.

  12               MR. BARRACK:    Yes, your Honor, I do.

  13               MR. MATTHEW GRIMES:     Yes, your Honor.

  14               THE COURT:    Okay.   Now, Mr. Barrack, is your counsel

  15   seated next to you.

  16               MR. BARRACK:    Yes, your Honor.

  17               THE COURT:    And Mr. Grimes.

  18               MR. MATTHEW GRIMES:     Yes, your Honor.

  19               THE COURT:    Okay.   Great.   Now, we'll begin with

  20   counsel for Mr. Barrack.

  21               Have you received a copy of the indictment against

  22   your client?

  23               MS. GUBERMAN:    Yes, your Honor.

  24               THE COURT:    You may remain seated since the

  25   microphones are at the desk.       I appreciate the effort to stand


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   1   up.

   2               And have you had sufficient time to discuss the

   3   indictment against your client with your client?

   4               MS. GUBERMAN:    Yes, your Honor.

   5               THE COURT:    Okay.   And, Mr. Reilly, Mr. Barrack is

   6   charged in which count of the in the indictment?

   7               MR. REILLY:    Your Honor, he is charged in all seven

   8   counts in the indictment.

   9               THE COURT:    Okay.   Counsel, does your client wish to

  10   have a public reading of the charges against him in the

  11   indictment?

  12               MS. GUBERMAN:    No, we waive.

  13               THE COURT:    The Court notes that Mr. Barrack waives

  14   his right to a public reading and the charges against him in

  15   the indictment.

  16               And how does your client plead to each of the seven

  17   counts against him in the indictment?

  18               MS. GUBERMAN:    Not guilty.

  19               THE COURT:    The Court notes and enters a plea of not

  20   guilty on behalf of Mr. Barrack to each of the seven counts in

  21   the indictment.

  22               Counsel for Mr. Grimes, have you received a copy of

  23   the indictment against your client?

  24               MR. SCHWARTZ:    Yes, your Honor.

  25               THE COURT:    Have you had an opportunity to discuss


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   1   the charges against him?

   2               MR. SCHWARTZ:    Yes.

   3               THE COURT:    Mr. Reilly, to which counts is

   4   Mr. Grimes charged in the indictment.

   5               MR. REILLY:    He is charged in Count One and Count

   6   Two, your Honor.

   7               THE COURT:    And, Counsel, does were you client wish

   8   to have a public reading of the charges against him in --

   9               MR. SCHWARTZ:    No thank you.

  10               THE COURT:    -- in the indictment.

  11               The Court notes that Mr. Grimes waives his right to

  12   a public reading of the charges against him in the indictment.

  13               Counsel, how does your client plead to Counts One

  14   and Two to the indictment?

  15               MR. SCHWARTZ:    He's not guilty.

  16               THE COURT:    The Court enters a plea of not guilty to

  17   Counts One and Two in the indictment.

  18               Okay.   Before proceeding to bail, I'm giving the

  19   Government its Rule 5(f) warning pursuant to Federal Rule of

  20   Criminal Procedure 5(f) and remind the prosecution of its

  21   obligation under Brady versus Maryland and the cases that

  22   follow it to disclose to the defendants all information

  23   whether admissible or not that's favorable to the defendant

  24   material either to guilt or punishment which is known to the

  25   prosecution.    The prosecution must make good-faith efforts to


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   1   disclose such information to the defendants as soon as

   2   reasonably possible all.

   3               I'll be enter a written order that fully describes

   4   this obligation and possible consequences of failing to meet

   5   it and I'm directing the Government to review and comply with

   6   that order.

   7               Does the Government confirm that it understands its

   8   Brady obligations and will fulfill them?

   9               MR. REILLY:    Yes, your Honor.

  10               THE COURT:    Okay.    Anything from the Government

  11   before I proceed to bail?

  12               MR. REILLY:    Your Honor, there is an application of

  13   excludable delay.     I'm happy to deal with that now, or if the

  14   Court would prefer after it deals with the bail issue.

  15               THE COURT:    Let's deal with that after bail.

  16               Anything else?

  17               MR. REILLY:    No, your Honor.

  18               THE COURT:    Anything from either defendant before I

  19   go to bail?

  20               MR. HERRINGTON:     No, your Honor.

  21               MR. SCHWARTZ:    No.

  22               THE COURT:    Okay.    What is the Government's position

  23   on bail?

  24               MR. REILLY:    Your Honor, the Government is prepared

  25   to recommend a consented-to bail package which is


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   1    substantially similar to the conditions of release upon which

   2    the defendants were released by Judge Donohue at the removal

   3    proceeding this past Friday in the Central District of

   4    California.

   5               As the Court is aware, we provided a proposed bond

   6    as well as attachments; I'm happy to go through the terms,

   7    your Honor, but just as a point of reference with respect to

   8    Mr. Barrack, the bond reflects a $250 million bond which is

   9    secured by property, four properties to be specific, signed in

  10    addition by three sureters:      Thomas J. Barrack, Mr. Barrack's

  11    son; Rachelle Barrack, his ex-wife; and Jonathan Grunsweig, a

  12    business associate of Mr. Barrack.        This is reflected in

  13    Attachment C to the proposed bond.

  14               There is a substantial volume of Digital Bridge

  15    shares in which Mr. Barrack owns -- of which he is the owner

  16    which he has agreed to be encumbered for the purpose of

  17    serving as a security for this matter.

  18               With respect to Mr. Grimes, your Honor, again,

  19    consistent with the bond that was issued in the

  20    Central District of California, it is a $5 million bond of

  21    which would be partially secured by the residence of his

  22    parents, Ms. Brett and Marissa Grimes.        It also contemplates

  23    the signature of three sureters, Brett Grimes, Marissa Grimes,

  24    who are Mr. Grimes' parents, as well as his brother Scott

  25    Grimes.


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   1               I should note, your Honor, as well that the Court in

   2    the Central District imposed GPS monitoring with respect to

   3    both defendants including an ankle bracelet for each

   4    individual and that the parties are recommending that that

   5    condition be continued.

   6               THE COURT:    Okay.   I also understand that neither

   7    Mr. Barrack nor Mr. Grimes were present in person at the Court

   8    on Friday and, therefore, would be would have to be informed

   9    of each of the conditions and the consequences personally to

  10    them.

  11               MR. REILLY:    Yes, your Honor.

  12               Due to, as the Court is familiar with in this

  13    district, due to the challenge of securing an in-person

  14    appearance, or even a video appearance, when the parties

  15    reached an agreed recommendation to the Court on Thursday

  16    afternoon, the parties were not able to be produced for their

  17    appearance on Friday.     While counsel were able to secure their

  18    signatures, and also as officers of the Court indicated, that

  19    they had been informed of the terms of the bond and the

  20    consequences for violating it, the Court is absolutely correct

  21    that they were not present in court and in real-time either

  22    remotely or in person during the proceedings on Friday.

  23               THE COURT:    I ask that because to the extent that

  24    there are conditions that you didn't go over in your

  25    presentation to me, I will be going over them to the extent I


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   1    agree with the bond application with each of the defendants

   2    and can clarify if there is anything that I missed.

   3               But before we get into any of that, the proposed

   4    bond that you provided the Court, you've given copies to both

   5    Mr. Barrack and Mr. Grimes' counsel?

   6               MR. REILLY:    Yes, your Honor.

   7               I believe also that Mr. Barrack's counsel was able

   8    to secure signatures on the proposed bond that we provided

   9    from the sureters in advance of today's appearance.

  10               Obviously, they are also available remotely.          I

  11    understand from Mr. Grimes's counsel that Mr. Brett Grimes is

  12    physically present in court today as one of the sureters and

  13    Marissa Grimes and Scott Grimes are available via the video

  14    link.

  15               THE COURT:    Okay.   And because the nature of the

  16    colloquy is somewhat different in this district than it is in

  17    California, I will be making an inquiry of the sureters to

  18    make sure they understand the issues personal if the defendant

  19    on behalf of whom they're signing were to violate any of these

  20    conditions.

  21               The Court notes that here the Government has

  22    consented to the application and I believe none of the charged

  23    offenses are presumption offenses; is that correct?

  24               MR. REILLY:    That is correct, your Honor.

  25               THE COURT:    Under that, the Bail Reform Act requires


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   1    that there be a presumption in favor of release, and the

   2    Court's limited inquiry today is related to whether or not the

   3    defendant should be released pending trial.

   4               I also note the Court does have an independent

   5    obligation to determine whether or not the conditions are

   6    sufficient to mitigate against the risk of flight here and I

   7    have some questions, you know, beginning with the Government

   8    and then for each of the defense counsel about some of the

   9    particularities on some of the conditions that I'm, well, I'll

  10    just go through the questions.

  11               The Government submitted a detention letter to

  12    Judge Donohue on July 20th.      One of the things, and just to be

  13    clear we're talking about the same letter, it's a letter which

  14    I believe relates only to Mr. Barrack and you have that

  15    Mr. Reilly?

  16               MR. REILLY:    I do, your Honor.

  17               THE COURT:    On Page 5 of that letter, you indicated

  18    that Mr. Barrack poses a risk of flight because of his access

  19    to private aircraft.     And you note his extensive international

  20    travel related to, or based upon, or in connection with the

  21    use of private aircraft.

  22               What condition or combination of conditions have you

  23    put into the package that deals with this issue?

  24               MR. REILLY:    Yes, your Honor.

  25               So to provide some additional sort of factual


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   1    information to the Court.      Mr. Barrack traveled extensively on

   2    private aircraft which had previously been owned, it is our

   3    understanding, by his employer Colony which is now

   4    Digital Bridge.    Digital Bridge has now transferred ownership

   5    of that to a different private entity.

   6               Notably, Mr. Barrack, it's our understanding, that

   7    Mr. Barrack continued to have access to that plane via.

   8    Chartering, chartering its continued usage after the ownership

   9    had been transferred.     The Government had anticipated seeking,

  10    essentially, surrender of access to the plane or ownership or

  11    in some way, shape, or for encumbering that.         Obviously,

  12    counsel raised the point that Mr. Barrack can't encumber what

  13    he no longer owns.

  14               As a result, the Government believed that the

  15    imposition of the ankle monitoring coupled with, which will

  16    allow GPS monitoring of his location, that he will use only

  17    sort of common carriers for air travel; that he will not

  18    endeavor to travel even consistent with the geographical

  19    limitations on his travel.       He will not do so on private

  20    aircraft and the geographic restrictions set forth in the

  21    bonds coupled with all of the other conditions that had been

  22    put in place were sufficient to ensure that he would appear in

  23    court, your Honor.

  24               THE COURT:    Okay.

  25               Mr. Herrington, does your client own any private


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   1    aircraft.

   2                MR. HERRINGTON:    Your Honor, I advised the

   3    Government within 30 minutes of receiving this letter last

   4    week that they were incorrect in asserting in multiple places

   5    in that letter that he does not own a private aircraft.           I am

   6    appalled that they have not corrected the record on that

   7    point, that they have not.

   8                THE COURT:   Mr. Reilly just indicated that he gave a

   9    full recitation of the facts as he understood as proffered by

  10    you.   But I guess --

  11                MR. HERRINGTON:    That's not correct, he did not seek

  12    clarification from me.

  13                THE COURT:   I'm not here to debate any of that.        I

  14    just want a straightforward answer to my question which I

  15    think you gave me.

  16                Does your client own any private aircraft?

  17                MR. HERRINGTON:    No.

  18                THE COURT:   And in the past, he has chartered

  19    aircraft owned by others?

  20                MR. HERRINGTON:    Correct.

  21                THE COURT:   And anyone besides Digital Bridge

  22    aircraft who he used to charter aircraft.

  23                MR. HERRINGTON:    He has charted aircraft from other

  24    commercial providers of aircraft charters in the past, yes.

  25                THE COURT:   Do you have a list of those companies?


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   1                 MR. HERRINGTON:   We could provide such a list,

   2    certainly.

   3                 THE COURT:    Because I'm inclined to have, in light

   4    of the geographic limitations, that a copy of the bond be

   5    provided to the companies from which he's chartered aircraft

   6    so that they're aware that he cannot travel outside the

   7    geographic limitations here.       I'm assuming that there's going

   8    to be no objection to that.

   9                 MR. HERRINGTON:   No objection, your Honor.

  10                 THE COURT:    Any objection from the Government?

  11                 MR. REILLY:   No, your Honor.

  12                 THE COURT:    Okay.   Now, Mr. Reilly, in the same

  13    letter, the Government said that any bail package would have

  14    to include at a minimum disclosure of the full scope of

  15    financial ties and assets of Mr. Barrack.

  16                 Did you seek that, that part of this bail package?

  17                 MR. REILLY:   Your Honor, the defendant did make a

  18    financial disclosure to the Government which included -- which

  19    was signed by Mr. Barrack which include representations that

  20    he did not have substantial foreign or really any significant

  21    foreign assets that were not disclosed.         We -- were not

  22    disclosed as part of that disclosure form and that financial

  23    affidavit.

  24                 Obviously, the Government was particularly concerned

  25    about the existence of foreign real estate that might serve as


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   1    a location for Mr. Barrack.      And counsel made a representation

   2    as affirmed by the affidavit that he had no such foreign

   3    assets or property, your Honor.

   4               THE COURT:    Just to be clear, I'm not sure it's an

   5    affidavit, it's a letter; is that correct, or am I missing a

   6    document the parties are referring to?

   7               MR. HERRINGTON:     Your Honor, there was a financial

   8    statement that was signed by Mr. Barrack that indicates his

   9    total holdings and those include no foreign assets.

  10               THE COURT:    Is that what you're referring to,

  11    Mr. Reilly?

  12               MR. REILLY:    Yes, your Honor, I apologize.

  13               THE COURT:    All right.

  14               Now, Attachment B of the proposed bond --

  15               MR. REILLY:    Yes, your Honor.

  16               THE COURT:    -- refers to a $250 million appearance

  17    bond partially secured by 21,239,192 Digital Bridge units.

  18               MR. REILLY:    Yes, your Honor.

  19               THE COURT:    And I guess, Mr. Herrington, my question

  20    for you, I think there's a letter that's attached signed by

  21    Mr. Barrack and legal counsel for Digital Bridge which I

  22    believe prevents the pledging of these units in the future.

  23               Are they otherwise pledged?

  24               MR. HERRINGTON:     No, your Honor, they're not.       In

  25    this case, the Digital Bridge is actually the custodian of


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   1    these Operational Partnership Units.        So they've agreed to

   2    accept Mr. Barrack's irrevocable direction not to pledge them

   3    and they have agreed that they will not pledge, negotiate, or

   4    hypothecate those units.

   5               THE COURT:    They haven't previously?

   6               MR. HERRINGTON:     No, your Honor.

   7               THE COURT:    Is that the Government's understanding

   8    as well?

   9               MR. REILLY:    Yes, your Honor.

  10               THE COURT:    Does the Government have an

  11    understanding as to whether or not, well, let's do it this

  12    way.

  13               (A brief pause in the proceedings was held.)

  14               THE COURT:    I have a document that I marked as Court

  15    Exhibit 1 that I am handing to the Government and to counsel

  16    for Mr. Barrack.

  17               If you look at this SEC filing, it refers to a

  18    number of OP Units that is different than what's in the net

  19    worth statement those are publicly available documents.

  20               Is there any reason that we have a difference in the

  21    bond?

  22               (A brief pause in the proceedings was held.)

  23               MR. HERRINGTON:     Your Honor, we'd be happy to

  24    supplement the record on this.       I'm advised by my client that

  25    this set of OP units is distinct from the ones that are


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   1    recounted as Mr. Barrack's personal ones on the financial

   2    statement.

   3                 THE COURT:    Okay.   I just wanted -- I don't have a

   4    view as to whether they should be supplemented or not.           I just

   5    wanted to make sure that, to the extent the agreement was to

   6    have Mr. Barrack put up a security units he owned, that the

   7    parties agreed on what the numbers were that were also, and

   8    that there was no discrepancy somehow that raise an issue in

   9    the future.

  10                 And so, I take it from what you're saying this

  11    document refers to units that are not ones being pledged and

  12    the 21,239,000 or so units are the ones that he owns or

  13    controls or both that he's pledging different ones in support

  14    of his release; is that right?

  15                 MR. HERRINGTON:   You're correct, your Honor.

  16                 THE COURT:    Mr. Reilly, any objection?

  17                 MR. REILLY:   Not at this time, your Honor.

  18                 THE COURT:    All right.    Now, I guess some very brief

  19    final questions before I speak to the sureters.

  20                 Where does Mr. Barrack intend to reside when he's

  21    out been bail.

  22                 MR. HERRINGTON:   Your Honor, Mr. Barrack's residence

  23    is in the District of Colorado.         All of his six children but

  24    his two minor children live in the Central District of

  25    California.    And so, thus we've spoken with the Government


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   1    over the weekend and yesterday and he will reside in Colorado.

   2    But, in accordance with his access to his children and through

   3    the normal procedures of notice to the Government and to

   4    pretrial and probation services, there will be some regular

   5    travel so that he could see his children in California.

   6                 THE COURT:    Does this comport with the Government's

   7    understanding?

   8                 MR. REILLY:   It does, your Honor.      And that is a

   9    slight emendation to the travel conditions that were imposed

  10    by the Central District which were the Central District of

  11    California and travel to the Eastern and Southern Districts of

  12    New York for the purposes of Court.

  13                 The Government has agreed, based on its

  14    conversations with counsel, to add the District of Colorado as

  15    that has been represented to be Mr. Barrack's primary

  16    residence.

  17                 THE COURT:    Part of the reason I ask is because the

  18    Pretrial Services report indicates that Mr. Barrack is to be

  19    supervised by Pretrial Services in the District of -- in

  20    California.    And so, to the extent he's residing somewhere

  21    else, it may be that Pretrial Services from, for example,

  22    Colorado may visit him at his home in Colorado.              And I wanted

  23    to make sure that he understood that that is a possibility and

  24    what it means to be supervised.        I will certainly go over that

  25    with him, but that's the reason I ask the question.


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   1               I understand from the proceeding in California that

   2    the $5 million is to be part of the bond package.           The

   3    $5 million in cash was being held in a trust account at the

   4    Law Firm of Paul Hastings.       The current bond indicates that it

   5    would be deposited with the clerk of Court.

   6               Is there an understanding as to what's to occur

   7    there?

   8               MR. REILLY:    Yes, your Honor.

   9               In proceedings with the Central District, both due

  10    to the rapid speed of which we were proceeding as well as our

  11    understanding from the Clerk's Office that substantial cash

  12    bonds are not the normal court out there.         In order to sort of

  13    move expeditiously, Mr. Herrington's firm agreed to take the

  14    money into the escrow account.

  15               We will work with Mr. Herrington and Paul Hastings

  16    to give them the procedures for the purpose of depositing that

  17    money with the Clerk's Office and the registry of the Court in

  18    this matter.

  19               THE COURT:    Mr. Herrington, do you understand that I

  20    didn't want an inadvertent footfall that the bond clearly says

  21    that the cash is to be deposited with the Clerk of Court.

  22               MR. HERRINGTON:     Thank you, your Honor, that's

  23    understood and perfectly acceptable.

  24               THE COURT:    Okay.    Typically, we don't give more

  25    than, say, ten days to deposit and execute confessions of


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   1    judgment in this court.      We have until September 3rd.

   2               Mr. Reilly, why is that?

   3               MR. REILLY:    The reason we had put a prolonged

   4    period was that based on our conversations with counsel,

   5    excuse me, in California where the pledged properties exist,

   6    it had been our understanding as confirmed, I think, by

   7    counsel for both men that perhaps due to the challenges

   8    presented by the ongoing pandemic, or for other reasons,

   9    perfecting judgments with respect to clerk's offices in

  10    California municipalities in the normal course was taking an

  11    extended period of time and was not able to be accomplished in

  12    the normal course in a matter of weeks as it would be in my

  13    experience, and I suspect in the Court's experience here in

  14    court.

  15               For that reason, we had put the more extended, the

  16    extended time period.     The Court, I believe, has also received

  17    from the parties a letter which various sureters have provided

  18    to the Government, essentially, pledging to act as if

  19    perfection of the judgment had occurred in that pendency

  20    period.

  21               So, your Honor, this was an effort by the parties to

  22    ensure that the -- to give the Government comfort that the

  23    properties were, in fact, encumbered but to recognize the

  24    realities that we were being told on the ground in California

  25    with respect to recording the Government's security interest.


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   1                 THE COURT:    Okay, fair enough.    I just needed to

   2    understand the rationale to extend the timeframe.            I'm happy

   3    to approve it in light of the pandemic conditions and multiple

   4    properties not in this jurisdiction and to do so for both

   5    defendants.

   6                 And the other question, and perhaps maybe counsel

   7    for each of the defendants, but I'll begin with Mr. Reilly.

   8                 The other question is when property is being pledged

   9    to have all of the individuals who have an ownership interest

  10    brought on as sureters or whether they are people who have

  11    other outstanding interest excluding, of course, banks or

  12    mortgages.

  13                 Is it your understanding that the properties being

  14    pledged for both defendants any owners are sureters?

  15                 MR. REILLY:   Yes, your Honor.     That was our

  16    understanding based on our communications with counsel.

  17                 THE COURT:    Is that correct?

  18                 MR. HERRINGTON:    That's correct.     I want to be

  19    perfectly transparent.       In speaking with sureties, I can't say

  20    there's a Mechanic's Lien or something somewhere.            But the

  21    mortgages are reflected in the materials you have and there

  22    are no other significant encumbrances.

  23                 THE COURT:    Counsel for Mr. Grimes.

  24                 MR. SCHWARTZ:    Yes.

  25                 THE COURT:    I have one final question with respect


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   1    to Mr. Barrack's bond.      Attachment A, Paragraph 7 refers to

   2    limitations on certain transactions and I wanted to make sure

   3    there was no ambiguity about this because I had difficulty

   4    understanding exactly what was being contemplated.           The second

   5    sentence indicates that the defendant shall not engage in

   6    domestic financial transactions in excess of $50,000 with the

   7    exception for attorneys fees and transactions otherwise

   8    approved by the Government.

   9               The first sentence says there will be no overseas

  10    phone transfers and transactions with any overseas

  11    counterparty which seems to leave open the possibility of

  12    financial transactions between domestic counterparties

  13    involving foreign funds.

  14               Is there some delta between sentence one and

  15    sentence two?

  16               MR. REILLY:    Your Honor, I think is it --

  17               THE COURT:    In other words, were you trying to say

  18    the defendant shall not to engage in foreign or domestic

  19    financial transactions in excess of $50,000 as well as

  20    preventing overseas transactions and overseas fund transfers?

  21               MR. HERRINGTON:     Your Honor, if I may?        I think you

  22    may have outlawyered us.

  23               THE COURT:    That's never my goal.      I just want to

  24    make sure the parties aren't confused.

  25               MR. HERRINGTON:     As I understand our agreement, it


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   1    is no foreign transactions including, and we'd be happy to

   2    add, including any transactions related to any foreign

   3    property.

   4                And then as to domestic transactions with domestic

   5    counterparties, the limit is $50,000 otherwise as agreed and

   6    disclosed to the Government.

   7                THE COURT:    Mr. Reilly?

   8                MR. REILLY:    Yes, your Honor.     As Mr. Herrington

   9    explained, that was consistent with the Government's

  10    understanding.

  11                THE COURT:    Okay.   You don't have to change the

  12    writing, the record is here.       You agree with that recitation

  13    and that's how you would interpret Paragraph 7?

  14                MR. REILLY:    Yes, your Honor.

  15                THE COURT:    Okay.   Mr. Herrington, you agree?

  16                MR. HERRINGTON:    Yes, your Honor.

  17                THE COURT:    Okay.   I think last question is to the

  18    extent that the $250 million bond is not satisfied by the

  19    $5 million these shares of the property that are being

  20    presented that is unsecured; is that correct?

  21                MR. REILLY:    That is correct, your Honor.

  22                THE COURT:    Mr. Herrington?

  23                MR. HERRINGTON:    Correct.

  24                THE COURT:    Okay.

  25                Now, at this point, I'm going to have -- I'll start


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   1    with Mr. Barrack and I will go to Mr. Grimes' sureters and do

   2    the colloquy with them.      Just to make sure I understand, it's

   3    -- there are three sureters for Mr. Barrack:         Mr. Barrack,

   4    III, Rachelle Barrack, and Jonathan you Grunsweig; is that

   5    correct?

   6               MR. HERRINGTON:     That's correct, your Honor.

   7               THE COURT:    Okay.   And are the three of you able to

   8    hear me and see me?

   9               MR. GRUNSWEIG:     Yes, your Honor.

  10               MR. BARRACK, III:     Yes, your Honor.

  11               THE COURT:    Okay.   Well, at this point, Mr. Manson,

  12    my deputy, is going to swear you each of you and then I'm

  13    going to ask each of you some questions one at a time, okay?

  14               COURTROOM DEPUTY:     Raise your right hand.

  15               (Sureters sworn.)

  16               MR. GRUNSWEIG:     Yes.

  17               MR. BARRACK, III:     Yes.

  18               MS. BARRACK:     I do.

  19               THE COURT:    Mr. Barrack, III, I will begin with you.

  20               What is your relationship to Mr. Barrack, Jr.?

  21               MR. BARRACK, III:     I'm his son, your Honor.

  22               THE COURT:    How often do you speak to him or see

  23    him?

  24               MR. BARRACK, III:     We speak on a weekly basis and

  25    see him, you know, the same amount.


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   1               THE COURT:    So what do you do for a living?

   2               MR. BARRACK, III:     I work for the family office.

   3               THE COURT:    Okay.   And what do you do for them, just

   4    a little bit about your job?

   5               MR. BARRACK, III:     Investments, manage real estate

   6    investments mainly, your Honor.

   7               THE COURT:    What is your approximate yearly income?

   8               MR. BARRACK, III:     Approximately $250,000, your

   9    Honor.

  10               THE COURT:    Okay.   And do you understand that your

  11    father has been charged with serious federal crimes.

  12               MR. BARRACK, III:     Yes, I do, your Honor.

  13               THE COURT:    You understand that I will -- I am

  14    potentially releasing him until his trial on certain

  15    conditions that he must comply with.

  16               MR. BARRACK, III:     Yes, your Honor.

  17               THE COURT:    Okay.   And do you understand you are

  18    being asked, sir, to sign on to a bond in support of his

  19    release, a bond that has the amount of $250 million.

  20               MR. BARRACK, III:     Yes, your Honor.

  21               THE COURT:    Okay.   And you're also being asked to

  22    pledge certain property that is listed on the bond in support

  23    of that obligation?

  24               MR. BARRACK, III:     Yes, your Honor.

  25               THE COURT:    Do you understand, sir, that if your


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   1    father were to violate any of the conditions that I impose

   2    upon him or not return to court as he's required to do, there

   3    would not only be consequences to him but there would be

   4    direct consequences to you including that you would lose this

   5    home and you would be subject to the Government seeking to

   6    collect whatever they can't collect from your father.

   7               Do you understand that.

   8               MR. BARRACK, III:     Yes, I understand, your Honor.

   9               THE COURT:    Okay.   Do you have any questions about

  10    the nature of the obligations that are being asked of you

  11    today?

  12               MR. BARRACK, III:     No, I do not.

  13               THE COURT:    In light of the fact there would be

  14    serious consequences to you, are you still willing to sign on

  15    to this bond on the terms that I discussed?

  16               MR. BARRACK, III:     Yes, I am, your Honor.

  17               THE COURT:    Okay.   I believe there is a document

  18    that is the bond itself that has been signed.

  19               Is that correct, Mr. Reilly, or is that incorrect?

  20               MR. REILLY:    Yes, your Honor.

  21               THE COURT:    Okay.   Thank you, Mr. Barrack.

  22               Rachelle Barrack, can you hear me, ma'am?

  23               MS. BARRACK:     I can, your Honor.

  24               THE COURT:    What's your relationship to Mr. Barrack,

  25    Jr?.


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   1               MS. BARRACK:     He is my ex-husband and the father of

   2    our two minor children.

   3               THE COURT:    How often do you speak with him or see

   4    him?

   5               MS. BARRACK:     I speak with him daily as much as

   6    possible, and when he is in town I see him at least weekly.

   7               THE COURT:    Okay.   I should mention if counsel need

   8    to come around to see my colloquy they're welcome to do so.

   9               What do you do for a living?

  10               MS. BARRACK:     I'm a stay-at-home mom to our two

  11    minor children.

  12               THE COURT:    Okay.   Do you understand that

  13    Mr. Barrack, Jr. has been charged with serious federal crimes?

  14               MS. BARRACK:     Yes, I do, your Honor.

  15               THE COURT:    Okay.   Do you understand that you're

  16    being asked to sign on to a bond in support of his release?

  17               MS. BARRACK:     Yes, I do, your Honor.

  18               THE COURT:    Okay.   And do you understand that you

  19    are also being asked to pledge the home in support of his

  20    release?

  21               MS. BARRACK:     Yes, I do, your Honor.

  22               THE COURT:    Okay.   And do you understand that if I

  23    release Mr. Barrack, Jr. he's going to be subject to certain

  24    questions, and if you were to violate any of these conditions

  25    or not return to court there would be potential consequences


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   1    to you in addition to consequences to him or consequences to

   2    you would be that you would lose this property and that the

   3    Government would seek to collect from you the amount that they

   4    could not collect from Mr. Barrack, Jr.

   5               Do you understand that?

   6               MS. BARRACK:     Yes, your Honor.

   7               THE COURT:    In light of the personal consequences

   8    that would flow to you, and in light of from any failure of

   9    Mr. Barrack to you to follow the conditions I impose upon him,

  10    are you still willing to sign on to this bond in support of

  11    his release?

  12               MS. BARRACK:     Yes, I am, your Honor.

  13               THE COURT:    Do you have any questions about the

  14    nature of your obligations or anything I've said thus far?

  15               MS. BARRACK:     No, I understand.     Thank you.

  16               THE COURT:    Thank you.    Mr. Grunsweig?

  17               MR. GRUNSWEIG:     Grunsweig.

  18               THE COURT:    How do you know Mr. Barrack, Jr?

  19               MR. GRUNSWEIG:     Former business colleague and

  20    long-time partner.

  21               THE COURT:    What do you do for a living?

  22               MR. GRUNSWEIG:     I'm an executive at the company

  23    Digital Bridge which is successor to a company Mr. Barrack had

  24    founded.

  25               THE COURT:    Okay.   And, sir, what's your approximate


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   1    yearly income?

   2               MR. GRUNSWEIG:     Several million dollars, your Honor.

   3               THE COURT:     Do you understand Mr. Barrack, Jr. has

   4    been charged with serious federal crimes?

   5               MR. GRUNSWEIG:     Yes, I do.

   6               THE COURT:     Okay.   Do you understand that you're

   7    being asked to sign on to a bond in support of his release?

   8               MR. GRUNSWEIG:     I understand, your Honor.

   9               THE COURT:     Okay.   Do you understand that if I were

  10    to release him, he would be subject to certain conditions.

  11    And if he were to violate any conditions or not come to court,

  12    not only there would be consequences to him but there would be

  13    consequences to you, namely, that you would lose the property

  14    that you're pledging and the Government would seek to collect

  15    from you up to $250 million of the amount that they couldn't

  16    collect from Mr. Barrack, Jr.

  17               Do you understand that?

  18               MR. GRUNSWEIG:     Affirmative, your Honor.

  19               THE COURT:     In light of the direct financial

  20    consequences that would occur to you, if he were to violate

  21    any of the conditions or not come to court, are you still

  22    willing to sign on to the bond in support of his release?

  23               MR. GRUNSWEIG:     I am willing, your Honor.

  24               THE COURT:     Do you have any questions for me about

  25    anything I've said or the nature of your obligations?


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   1               MR. GRUNSWEIG:     No questions, sir.

   2               THE COURT:    All right.    I find that the sureters

   3    understand the nature of their obligations and the

   4    consequences that would accrue to them.

   5               I also note that each of the sureters have signed on

   6    to the bond that sets forth the conditions and the obligations

   7    they're signing on to.      I'm going to have them stay on the

   8    line as I explain to Mr. Barrack the nature of the conditions

   9    upon which he would be released.

  10               Does the Government feel any other colloquy is

  11    necessary with respect to the sureters?

  12               MR. REILLY:    No, your Honor.

  13               THE COURT:    Mr. Herrington?

  14               MR. HERRINGTON:     Nothing, your Honor.

  15               THE COURT:    Okay.   I'm prepared to release

  16    Mr. Barrack, Jr. pending trial on the conditions set forth

  17    provided that I'm comfortable that he understands the

  18    conditions and the consequences that would flow to him from

  19    violation of those conditions.

  20               As I noted before, the parties have agreed, the

  21    Government has agreed, to the bail package which is quite

  22    substantial, and this is only a risk of flight case, and I

  23    find that the conditions are sufficient to mitigate the risk

  24    of flight present.

  25               I also note that Pretrial Services in two districts


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   1    has recommended release given their long history of

   2    supervision.    That favors or counsels strongly in favor of

   3    release on these conditions.

   4               Mr. Barrack, you don't have to stand.            I'm going to

   5    explain to you the conditions upon which you're being released

   6    and the consequences of violating those conditions, okay?            If

   7    you have any questions, you can let me know, okay?

   8               MR. BARRACK:     Yes, your Honor.

   9               THE COURT:    First of all, you're subject to a travel

  10    restriction.    You cannot travel outside of the

  11    Central District of California, the District of Colorado, or

  12    the Eastern and Southern Districts of New York.             If you have

  13    questions about what both locations cover, you can ask your

  14    lawyer.

  15               You have to give written advance notice of your

  16    itinerary to Pretrial Services and the Government no less than

  17    three days in advance of travel between these districts.

  18               You also must avoid contact with certain people

  19    including Mr. Grimes as well as Rashid Al Mali or any

  20    officials of the United Arab Emirates or the Kingdom of Saudi

  21    Arabia or their known associates.       If you don't know who these

  22    individuals are, or you may communicated with them, I suggest

  23    you ask your lawyer.     This is not a seek forgiveness

  24    condition, it is a seek permission condition.

  25               You also have to surrender, which I understand


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   1    you've already done, any passports that you have.           You may

   2    also not apply for any additional travel documents.

   3                You will also be under the supervision of Pretrial

   4    Services.   What that means is they can randomly visit you at

   5    your home or place of work, or they can ask you to present

   6    yourself to them at a time and place of their choosing and you

   7    have to obey those restrictions.

   8                You're subject to a curfew that is determined by

   9    them.

  10                You are subject to location monitoring and you have

  11    to bear the costs of your ankle bracelet monitor.

  12                You are only permitted to travel via road or common

  13    air carrier.

  14                And you're subject to certain limitations on your

  15    financial transactions that you may which we've discussed.

  16                You are also required to, and your lawyer will take

  17    care of that, to provide a copy of this order and its travel

  18    restrictions to any company that you have chartered aircraft

  19    from in the past.

  20                You're also subject to what are known as the

  21    standard conditions of release that applies to any defendant

  22    who is released from this district and I'm going to explain to

  23    you what those conditions are.

  24                Number one is you may not possess a narcotic drug or

  25    controlled substance unless you have a doctor's prescription.


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   1               You may not possess a firearm or other weapon or

   2    destructive.

   3               You may not any change your phone number or your

   4    address unless you inform everyone here in writing:          That's

   5    the Government, that's your lawyers, that's Pretrial Services,

   6    and that's the Court as well.

   7               You may not violate any state law any federal law

   8    any local law.

   9               And those are the conditions upon which you are

  10    being released.

  11               Do you understand each and every one of those

  12    conditions, sir, 4.

  13               MR. BARRACK:     Yes, I do, your Honor.

  14               THE COURT:     Let me explain to you what the

  15    consequences are of violating any of those conditions or not

  16    coming to court.

  17               First of all, there are the immediate financial

  18    consequences.    Your friends and family will forfeiture all of

  19    the properties that they are pledging in support of your

  20    release.   You will forfeit all of the units that you are

  21    pledging here and the Government will seek to collect from you

  22    up to $250 million to the extent that those pledges don't

  23    cover that obligation and I believe that might wipe you out,

  24    sir.

  25               Do you understand that.


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   1               MR. BARRACK; yes, your Honor, I do.

   2               THE COURT:    Okay.   In addition, if you were not to

   3    return to Court, you would potentially, not potentially, the

   4    Court would issue an arrest warrant.        You would be found and

   5    you would be held without bail until your trial was completed.

   6               In addition, I mentioned that it is -- you may not

   7    violate any federal law, any state law, or any local law.           If

   8    you were to commit another crime while out on release, you

   9    would be subject to three separate prosecutions.

  10               First, would be the prosecution for the crimes to

  11    which you were charged and that brought you here today.

  12               Second, you would be prosecuted for ani crime you

  13    committed while out on release.

  14               Third, this is a separate and independent federal

  15    crime to commit a crime while out on bail.

  16               If you were found guilty of that crime, committing a

  17    crime while out on bail, the sentence for that crime will be

  18    consecutive which means it would follow any sentence you might

  19    receive in this case.

  20               In addition, if you violate the conditions or didn't

  21    come to court, you would subject to prosecution for bail

  22    jumping.

  23               And finally, it is a separate federal crime to

  24    interfere with any witness or victim in your case.

  25               Do you understand those consequences, sir?


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   1                 MR. BARRACK:   Yes, your Honor, I do.

   2                 THE COURT:    Do you have any questions either about

   3    the conditions or the consequences that I've laid out for you?

   4                 MR. BARRACK:   No, your Honor very clear.

   5                 THE COURT:    I see that Mr. Barrack has signed the

   6    bond here.

   7                 Does the Government believe any other colloquy is

   8    necessary?

   9                 MR. REILLY:    No, your Honor.

  10                 THE COURT:    Mr. Herrington.

  11                 MR. HERRINGTON:   Your Honor, just one small point.

  12    We were happy to provide notice of the bond as you described

  13    just knowing the time span of which --

  14                 THE COURT:    Within the last three years would be

  15    fine.

  16                 MR. HERRINGTON:   Thank you, your Honor.

  17                 THE COURT:    Okay.

  18                 MR. HERRINGTON:   No other questions, your Honor.

  19                 THE COURT:    Because your client signed the bond

  20    before I added the additional conditions, I will have you,

  21    your client, and the Government initial this document.

  22                 I find that Mr. Barrack understands the conditions

  23    upon which he is being released and I've explained my reasons

  24    why bail is appropriate in this case.         I'm therefore signing

  25    the release order and dating it today.


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   1               The sureters for Mr. Barrack, Jr. are permitted to

   2    stay on or leave, whichever they wish to do.

   3               Mr. Grimes, I appreciate your patience.          For

   4    Mr. Grimes, I understand that there are three sureters.

   5               MR. SCHWARTZ:     That's correct.

   6               THE COURT:    One of them is in court here today.

   7               MR. SCHWARTZ:     That's correct.

   8               THE COURT:    Okay.   Who is in court today?

   9               MR. SCHWARTZ:     Brett Grimes.

  10               THE COURT:    Mr. Brett Grimes, if he's here, he can

  11    come up and sit in the witness box.

  12               (Witness takes the witness stand.)

  13               THE COURT:    We have Marissa and Scott Grimes on the

  14    phone on video.

  15               MR. SCOTT GRIMES:     Yes, your Honor.

  16               MS. GRIMES:    Yes.

  17               THE COURT:    You can see and hear me?

  18               MR. SCOTT GRIMES:     Yes.

  19               MS. GRIMES:    Yes.

  20               THE COURT:    Mr. Manson, is going to swear the three

  21    of you, okay?    So please kindly follow his direction.

  22               COURTROOM DEPUTY:     Can you please raise your right

  23    hand.

  24               (Sureters sworn.)

  25               MR. BRETT GRIMES:     I do.


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   1               MR. SCOTT GRIMES:      I do.

   2               MS. GRIMES:    I do.

   3               COURTROOM DEPUTY:      You may put your hand down.

   4               THE COURT:    Okay.    I will start with Marissa Grimes.

   5               Ms. Grimes, what is your relationship to Matthew

   6    Grimes?

   7               MS. GRIMES:    He's my son, your Honor.

   8               THE COURT:    How often do you see him or speak to

   9    him?

  10               MS. GRIMES:    Well, I speak to him or we text every

  11    day.   And I see him when he's in town as often as we can -- a

  12    lot.

  13               THE COURT:    Ma'am, what do you do for a living?

  14               MS. GRIMES:    I'm a volunteer in the community.

  15               THE COURT:    Okay.    And do you understand that you're

  16    being asked to sign on to a bond in support of your son's

  17    release?

  18               MS. GRIMES:    Yes, your Honor.

  19               THE COURT:    Okay.    Do you understand that you're

  20    also being asked to, as part of that, pledge property in

  21    support of his release?

  22               MS. GRIMES:    Yes, your Honor.

  23               THE COURT:    Okay.    If I decide to release

  24    Mr. Grimes, I will be putting certain conditions upon him.

  25    And if you were to violate those conditions, there would be


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   1    consequences to him but there would also be consequences to

   2    you personally.    You would be forfeiting the property that you

   3    are pledging, and also you would be subject to because you're

   4    signed on to a $5 million obligation whatever the Government

   5    couldn't collect from your property or your son directly, they

   6    would come after you for.

   7                Do you understand that?

   8                MS. GRIMES:   Yes, your Honor.

   9                THE COURT:    Do you understand your son has been

  10    charged with serious federal crimes?

  11                MS. GRIMES:   Yes, your Honor.

  12                THE COURT:    Okay.   And in light of all of that, and

  13    the fact that there would be personal financial consequences

  14    to you, are you still willing to sign on to the bond in

  15    support of your son's release?

  16                MS. GRIMES:   Yes, your Honor.

  17                THE COURT:    Okay.   Do you have any questions at all

  18    for me?

  19                MS. GRIMES:   No, sir.    No, your Honor.

  20                THE COURT:    I have a document that's called an

  21    appearance bond.     It lays out the conditions upon which your

  22    son will be released.     It also lists the property that you are

  23    pledging.   There's a place for your signature.         You will, of

  24    course, receive a copy of this.

  25                Am I permitted to place your signature on the


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   1    document?

   2                MR. SCHWARTZ:    Your Honor, I do have the signatures

   3    from the two remote sureters on the bond.

   4                THE COURT:    You do?

   5                MR. SCHWARTZ:    I can hand that up.

   6                THE COURT:    Okay.   Great.   Ms. Grimes, any questions

   7    about anything I've said?

   8                MS. GRIMES:   No, your Honor.

   9                THE COURT:    Mr. Scott Grimes.    Sir, what's your

  10    relationship to Matthew Grimes?

  11                MR. SCOTT GRIMES:     He's my brother, your Honor.

  12                THE COURT:    How often do you speak with him?

  13                MR. SCOTT GRIMES:     It varies.   Weekly, I would say.

  14                THE COURT:    And, sir, what do you do for a living?

  15                MR. SCOTT GRIMES:     I'm a software engineer and

  16    manager.

  17                THE COURT:    What's your approximate yearly income?

  18                MR. SCOTT GRIMES:     $142,000.

  19                THE COURT:    Do you understand your brother has been

  20    charged with serious federal crimes?

  21                MR. SCOTT GRIMES:     Yes, your Honor.

  22                THE COURT:    Do you understand that you're being

  23    asked to sign on to a bond in support of his release?

  24                MR. SCOTT GRIMES:     I do, your Honor.

  25                THE COURT:    Okay.   And do you understand that if I


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   1    were to release him, he would be subject to certain

   2    conditions, and if he were to violate any of those conditions

   3    or not come to court, there would be consequences for him but

   4    there would also be consequences to you, namely, the

   5    Government would seize the property that you're pledging and

   6    also potentially seek to from you any portion of the

   7    $5 million that they otherwise couldn't either collect from

   8    your brother or the other sureters.

   9               Do you understand that.

  10               MR. SCOTT GRIMES:     I do, your Honor.

  11               THE COURT:    In light of the financial consequences

  12    that would come upon you, are you still willing to sign on to

  13    the bond in support of your brother's release?

  14               MR. SCOTT GRIMES:     I am willing and understand, your

  15    Honor.

  16               THE COURT:    Do you have any questions for me?

  17               MR. SCOTT GRIMES:     No questions for you, your Honor.

  18               THE COURT:    Mr. Brett Grimes, what's your

  19    relationship to Matthew Grimes?

  20               MR. BRETT GRIMES:     He's my son.

  21               THE COURT:    How often do you see him or talk to him.

  22               MR. BRETT GRIMES:     I talk to him almost daily.

  23               THE COURT:    Okay.   Sir, what do you do for a living?

  24               MR. BRETT GRIMES:     I'm a managing director for a

  25    financial institution.


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   1               THE COURT:     And what's your approximate yearly

   2    income?

   3               MR. BRETT GRIMES:      About $500,000.

   4               THE COURT:     Okay.   And, sir, do you understand that

   5    you're being asked to sign on to a bond in support of your

   6    son's release.

   7               MR. BRETT GRIMES:      Yes, your Honor.

   8               THE COURT:     Okay.   Do you understand that if I were

   9    to release him, I would be releasing him on certain conditions

  10    and if he were to violate any of those conditions or not come

  11    to court, there would be personal financial consequences to

  12    you.

  13               MR. BRETT GRIMES:      Yes, I understand that.

  14               THE COURT:     You understand that the Government would

  15    seize the property that you're pledging and collect from you

  16    up to $5 million that they couldn't otherwise collect?

  17               THE DEFENDANT:     I understand, your Honor.

  18               THE COURT:     Okay.   And you understand that your son

  19    has been charged with serious federal crimes?

  20               THE DEFENDANT:     I do, your Honor.

  21               THE COURT:     In light of all of what I've said, are

  22    you still willing to sign on to the bond in support of your

  23    son's release?

  24               THE DEFENDANT:     I believe I am.

  25               THE COURT:     Do you have any questions at all?


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   1                THE DEFENDANT:    No, sir, I don't.

   2                THE COURT:    I'm going to hand you a copy of the

   3    bond.    If you can just sign above your name and date it for

   4    today.

   5                THE DEFENDANT:    (Signing.)

   6                THE COURT:    Thank you.   You may be seated.

   7                (Witness leaves the witness stand.)

   8                THE COURT:    Does the Government believe any colloquy

   9    is necessary with respect to the sureters?

  10                MR. REILLY:   No, your Honor.

  11                THE COURT:    Mr. Grimes, I'm prepared to release you

  12    pending your trial provided that I am comfortable that you

  13    understand the nature of the conditions upon which you're

  14    being released and the consequences of violating those

  15    conditions.

  16                If you have any questions let me know, okay, sir?

  17                MR. MATTHEW GRIMES:     I understand your Honor.      Thank

  18    you.

  19                THE COURT:    Let me explain to you the conditions

  20    upon which you are being released.

  21                You're subject to a travel restriction which means

  22    you can't travel out of the Central District of California or

  23    the Southern or Eastern Districts of New York.          If you don't

  24    know what those areas are, Mr. Schwartz, your counsel, can

  25    tell you what they are.


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   1                You have to give written advanced notice of any

   2    travel itinerary to Pretrial Services no less than three

   3    business days in advance of any travel, okay?          You're also

   4    subject to the same contact restriction that Mr. Barrack, Jr.

   5    is subject to.    You, of course, cannot speak to him outside

   6    the presence of counsel or with any of the other people that

   7    I've mentioned.

   8                In addition, I understand that you have surrendered

   9    your passport to Pretrial Services.        To the extent that you

  10    haven't, and you should, you may also not apply for any other

  11    travel documents.     Any travel you would be permitted to do so,

  12    you can only do so via road or common air carrier.

  13                You are subject to GPS monitoring and that you have

  14    to pay for.    You're subject to a curfew for hours that are

  15    determined by Pretrial Services.        You're also subject to a

  16    restriction on overseas fund transfers and financial

  17    transactions both domestically and abroad that's detailed in

  18    the bond.

  19                In addition, you're subject to the supervision of

  20    Pretrial Services which means that they can visit you at your

  21    home or your place of work and they can do so randomly.           They

  22    also can ask you to report to them at a certain time and place

  23    and you have to abide by that.

  24                In addition, you are subject to the standard

  25    conditions of release that apply to anyone that is released


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   1    from this court pending trial.       You may not possess a narcotic

   2    drug or controlled substance unless you have a you doctor's

   3    prescription.

   4               You may not possess a weapon, a firearm, or any

   5    destructive device.

   6               If you change your phone number or your address, you

   7    have to inform the Government, Pretrial Services, the Court,

   8    your lawyers in writing.

   9               You may not violate any federal law, any state law,

  10    or any local law while you are out on release.

  11               Do you have any questions, sir, about any of those

  12    conditions.

  13               MR. MATTHEW GRIMES:      No, sir, I understand.      Thank

  14    you.

  15               THE COURT:    Mr. Reilly, any other conditions that I

  16    need to clarify?

  17               MR. REILLY:    No, your Honor.

  18               THE COURT:    Okay.   Mr. Grimes, let me explain to you

  19    the consequences of violating any of these conditions for not

  20    coming to court.

  21               First of all, you're signing an to, as are your

  22    family members, a $5 million bond in which various properties

  23    are being pledged.     Should you violate any of these

  24    conditions, or not show up to court, the Government would

  25    seize those monies and seize those properties and come after


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   1    you for up to $5 million.

   2               Do you understand that?

   3               MR. MATTHEW GRIMES:      I do, your Honor.

   4               THE COURT:    In addition, if you were not to come to

   5    court, an arrest warrant would be issued for you and you would

   6    be held pending trial until your trial is completed.

   7               Also, it is a separate federal crime to commit a

   8    crime while out on release.      I said that you can't violate any

   9    federal, state, or local law.       If you were to commit another

  10    crime while out on release, you would be subject to three

  11    separate prosecutions.

  12               One, a prosecution in this case.

  13               Two, a prosecution for any crime you committed while

  14    out on release.

  15               And third, it is a separate federal crime to commit

  16    a crime while out on bail.

  17               If you were found guilty and sentenced for the crime

  18    of committing a crime while out on bail, that sentence would

  19    run consecutive which means it would come after any sentence

  20    you might receive in this case.

  21               Also, it is a separate crime of bail jumping.          If

  22    you were to violate any conditions or not come to court.           And

  23    it is crime to interfere with any witness or victim in your

  24    case.

  25               Do you understand those consequences, sir?


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   1                 MR. MATTHEW GRIMES:    I do, your Honor.

   2                 THE COURT:    Do you have any questions at all about

   3    the consequences.

   4                 MR. MATTHEW GRIMES:    No, your Honor, I understand.

   5                 THE COURT:    Mr. Reilly, is any other colloquy

   6    necessary?

   7                 MR. REILLY:   No, your Honor.

   8                 THE COURT:    And Mr. Schwartz?

   9                 MR. SCHWARTZ:   No, your Honor.     I do want to put one

  10    clarification on the word record.        With respect to the curfew

  11    condition, we've agreed with the Government that during the

  12    curfew hours, whatever pretrial may set them at, Mr. Grimes

  13    may stay either at his primary residence or with his parents,

  14    both of which are in the Central District of California.

  15                 MR. REILLY:   The Government has no objection to

  16    that, your Honor.

  17                 THE COURT:    Okay.

  18                 MR. SCHWARTZ:   That would be reflected in the record

  19    itself.

  20                 Mr. Schwartz, I need your client to sign the bond.

  21                 I find that Mr. Grimes understands the nature of the

  22    conditions upon which he is being released; the consequences

  23    of his conditions of violating any of these witness.           I also

  24    note that the Government has agreed to this bail package and

  25    that the significant financial and property that is being


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   1    pledged is sufficient ameliorate any risk of flight.

   2               I also note that any Pretrial Services between two

   3    districts has supported the release of Mr. Grimes, a

   4    consideration that weighs heavily in favor of release.

   5    Therefore, I am releasing Mr. Grimes and I am signing the

   6    bond.

   7               Mr. Reilly, I believe there is an application from

   8    the Government.

   9               MR. REILLY:    Yes, your Honor, there is.

  10               As I believe the Court is aware, Judge Cogan has set

  11    this matter down for a status conference September 2nd at

  12    10:00 a.m. I think it's presently scheduled to be a telephonic

  13    status conference.

  14               The parties would like to present to the Court an

  15    application for an order of excludable delay with respect to

  16    the calculation of time under the Speedy Trial Act from

  17    today's date through, up to and including September 2nd and

  18    the appearance before Judge Cogan.

  19               The reason for that is that this -- the Government

  20    is preparing to make discovery in this matter.          We anticipate

  21    it would be a complex matter and that we have a large volume

  22    of discovery that counsel will need to review in connection

  23    with its preparation.

  24               And for that reason, the parties believe that it is

  25    in the interest of justice for the exclusion of time.           I have


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   1    applications that have been signed by myself, Counsel, and

   2    Mr. Grimes and Mr. Barrack respectively and I will hand them

   3    to the Court for you to review.

   4                 Thank you, your Honor.

   5                 THE COURT:   Mr. Herrington, you explained to the

   6    your client what it means to exclude time under the Speedy

   7    Trial Act.

   8                 MR. HERRINGTON:   Yes, your Honor.

   9                 THE COURT:   Does he have any questions about that.

  10                 MR. BARRACK:    No, your Honor, I don't?

  11                 THE COURT:   He joins in that application.

  12                 MR. HERRINGTON:   We agree there would significant

  13    discovery and we're willing to agree to this single extension.

  14                 THE COURT:   And, Mr. Schwartz, you explained to your

  15    client what it means to exclude time under the Speedy Trial

  16    Act?

  17                 MR. SCHWARTZ:   I have.

  18                 THE COURT:   Did he have any questions about that?

  19                 MR. SCHWARTZ:   No.

  20                 THE COURT:   He joins in that application?

  21                 MR. SCHWARTZ:   We do.    And I want to note the

  22    Government started making discovery productions over the

  23    weekend for which we were appreciative.

  24                 THE COURT:   For the reasons stated on the record as

  25    well as --


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   1               MS. GUBERMAN:     Your Honor, may we note we have not

   2    yet received any document production or discovery from the

   3    Government and we would like to know when we'll start

   4    receiving that.

   5               MR. REILLY:    Your Honor, we expect we'll make

   6    discovery this week.     We anticipate also that we will present

   7    later today a proposed protective order to counsel.          The

   8    materials that have been presented to Mr. Grimes were pursuant

   9    do an agreement that they will be treated as if such

  10    order is-- were in place.      But we expect that we will be in a

  11    position to make that discovery, excuse me, discovery

  12    production later this week.

  13               MR. HERRINGTON:     Your Honor, I would simply note for

  14    the record that I find it highly irregular that the same offer

  15    was not extended to me.

  16               We have not received any --

  17               THE COURT:    Mr. Herrington, let me deal with

  18    excludable delay first.

  19               For the reasons stated on the record, and for the

  20    reasons stated in the written application, noting that the

  21    applications are signed by both the Government and counsel and

  22    the defendant, I'm excluding time under Speedy Trial Act from

  23    today, July 26th, until September 2, 2021, when there is a

  24    telephonic conference before Judge Cogan.

  25               Mr. Herrington.


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   1                MR. HERRINGTON:    I would like some explanation as to

   2    why discovery was not provided to both defendants at once.

   3    And I would like an order that discovery be provided in

   4    parallel starting this afternoon with what's already been

   5    provided.

   6                MR. SCHWARTZ:    I didn't mean to create a thing.       I,

   7    over the weekend, asked the Government affirmatively for

   8    something very specific that pertained only to Mr. Grimes and

   9    they graciously accommodated me.

  10                THE COURT:    Okay.   I believe this is a matter that

  11    can be discussed among counsel.       To the extent there is no

  12    agreement, you can make an application to Judge Cogan.

  13    Otherwise, the application before me is denied, okay?

  14                Anything else from the Government?

  15                MR. REILLY:   No, your Honor.     Thank you very much.

  16                THE COURT:    Mr. Herrington.

  17                MR. HERRINGTON:    No, your Honor.     Thank you.

  18                THE COURT:    Mr. Schwartz?

  19                MR. SCHWARTZ:    No thank you.

  20                THE COURT:    I wish you wall good health.

  21                Just for the record, I'm giving back the application

  22    for pro hac vice which can be submitted to the Clerk's Office.

  23                (WHEREUPON, this matter was adjourned to September

  24    2, 2021.)

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                                      Arraignment                             53


   1                                    *   *   *

   2

   3                           CERTIFICATE OF REPORTER

   4
        I certify that the foregoing is a correct transcript of the
   5    record of proceedings in the above-entitled matter.

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  10    ________________________________________
         Anthony D. Frisolone, FAPR, RDR, CRR, CRI
  11     Official Court Reporter

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